          Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 1 of 22




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



    UNITED STATES OF AMERICA

    v.                                       CR. No. 1:21-cr-513-RBW

    WILLIAM WRIGHT WATSON,

                      Defendant.



         MR. WATSON’S MOTION TO DISMISS OBSTRUCTION CHARGE

         WILLIAM WRIGHT WATSON, through undersigned counsel, and pursuant

to Fed. R. Crim. P. 12(b)(3)(B)(v), respectfully requests that the Court dismiss Count

One of Mr. Watson’s indictment, which charges him with obstruction of an official

proceeding under 18 U.S.C. § 1512(c)(2) & 2.

         In Count One, the Indictment alleges that, on or about January 6, 2021, in the

District of Columbia and elsewhere, Mr. Watson

               attempted to, and did, corruptly obstruct, influence, and
               impede an official proceeding; that is, a proceeding before
               Congress, that is, a proceeding before Congress,
               specifically, Congress’s certification of the Electoral
               College Vote as set out in the Twelfth Amendment of the
               Constitution of the United States and 3 U.S.C. §§ 15-18.
ECF 13.

         The Court should dismiss Count One because it is fatally flawed for several

reasons. 1


1Mr. Watson, through undersigned counsel, recognizes that the majority of the
Court’s colleagues have denied motions to dismiss charges of obstruction under 18
U.S.C. § 1512(c)(2). See e.g., Memorandum Opinions in United States v. Andries, No.
        Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 2 of 22




      First, as Judge Nichols recently found in another January 6 case 2, the conduct

Mr. Watson has been accused of committing does not qualify as conduct that

“otherwise obstructs, influences, or impedes” an official proceeding, within the

meaning of Section 1512(c)(2). 3 Second, 18 U.S.C. § 1512(c)(2) only prohibits the

corrupt obstruction of tribunal-like proceedings before Congress related to the

administration of justice. It was not intended to prohibit the obstruction of a

ceremonial proceeding before Congress like the certification of the electoral college

vote. Thus Mr. Watson’s alleged obstruction of the certification of the electoral college

vote is not a crime under 18 U.S.C. § 1512(c). Third, Section 1512(c)(2) is

unconstitutionally vague in that “corruptly” is undefined and itself vague.

      For these reasons, and in light of the demands of the rule of lenity, Mr. Mitchel

respectfully requests that the Court dismiss Count One.

     COUNT ONE FAILS TO ALLEGE CONDUCT THAT “OTHERWISE
       OBSTRUCTS, INFLUENCES, OR IMPEDES ANY OFFICIAL
                         PROCEEDING”
      Count One fails to allege an actus reus that falls within 18 U.S.C. § 1512(c)(2).

This is a separate ground for dismissal of Count One. See Miller mem. op. at 15

(dismissing obstruction count in a January 6 case where Indictment did not allege or




1:21-CR-93 (RCL), 2022 WL 768684 (D.D.C. March 14, 2022) [hereinafter Andries
mem. op.]; United States v. Caldwell et al., No. 21-CR-28 (APM), 2021 WL 6062718
(D.D.C. Dec. 20, 2021) [hereinafter “Caldwell mem. op.”]. Mr. Watson files the
instant Motion to preserve the issue as it is on appeal.
2 The government has appealed Judge Nichols’s opinion in United States v. Miller,
1:21-CR-119 (CJN), 2022 WL 823070 (D.D.C. March 7, 2022) [hereinafter “Miller
mem. op.”]. The U.S. Supreme Court and the D.C. Circuit have not ruled on this issue.



                                           2
        Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 3 of 22




imply that defendant Miller “took some action with respect to a document, record, or

other object in order to corruptly obstruct, impede, or influence Congress’s

certification of the electoral vote.”).

       Section 1512(c) of Title 18 provides:

              (c) Whoever corruptly—
              (1) alters, destroys, mutilates, or conceals a record,
              document, or other object, or attempts to do so, with the
              intent to impair the object’s integrity or availability for use
              in an official proceeding; or
              (2) otherwise obstructs, influences, or impedes any official
              proceeding, or attempts to do so,
              shall be fined under this title or imprisoned not more than
              20 years, or both.
       Because     Section    1512(c)(2)   only   prohibits   “otherwise    obstruct[ing],

influenc[ing], or imped[ing] any official proceeding,” only acts that fall within that

clause violate the act. The “otherwise” clause must be construed in light of 1512(c) as

a whole. As Judge Nichols found and as the Department of Justice’s own Attorney

General recently explained, Supreme Court case law demonstrates this to be true.

Relying on Begay v. United States, 553 U.S. 137 (2008), and Yates v. United States,

574 U.S. 528 (2015), the former Attorney General explained:

       [I]t is clear that use of the word “otherwise” in the residual clause [of
       Section 1512(c)(2)] expressly links the clause to the forms of obstruction
       specifically defined elsewhere in the provision. Unless it serves that
       purpose, the word “otherwise” does no work at all and is mere
       surplusage. [An] interpretation of the residual clause as covering any
       and all acts that influence a proceeding reads the word “otherwise” out
       of the statute altogether. But any proper interpretation of the clause
       must give effect to the word “otherwise;” it must do some work.




                                            3
        Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 4 of 22




Memorandum from William Barr to Deputy Attorney General Rod Rosenstein and

Assistant Attorney General Steve Engel of June 8, 2018 [hereinafter “Barr Memo”]

at 4 (emphasis omitted). 4 After discussing Begay and Yates and how those cases

emphasized that “specific examples enumerated prior to the residual clause are

typically read as refining or limiting in some way the broader catch-all term used in

the residual clause,” he continued,

       Consequently, under the statute’s plain language and structure, the
       most natural and plausible reading of 1512(c)(2) is that it covers acts
       that have the same kind of obstructive impact as the listed forms of
       obstruction — i.e., impairing the availability or integrity of evidence —
       but cause this impairment in a different way than the enumerated
       actions do. Under this construction, then, the “catch all” language in
       clause (c)(2) encompasses any conduct, even if not specifically described
       in 1512, that is directed at undermining a proceeding’s truth-finding
       function through actions impairing the integrity and availability of
       evidence.

Id. at 4-5 (emphasis omitted) (emphasis added). 5



4 This is available at https://s3.documentcloud.org/documents/5638848/June-2018-
Barr-Memo-to-DOJ-Muellers-Obstruction.pdf (last visited April 4. 2022).
5 Although Yates was a plurality opinion, Justice Alito’s concurring opinion also

supports the former Attorney General’s and Mr. Watson’s position. According to
Justice Alito, the statute’s list of nouns, its list of verbs, and its title all stood out as
showing that the statute in question did not reach the conduct of the defendant in
that case. Yates, 574 U.S. at 549 (Alito, J., concurring). Regarding the nouns, Justice
Alito considered the application of both noscitur a sociis and ejusdem generis to find
that the term “tangible object” should refer to “something similar to records or
documents.” Id. at 549–50. In this case, Section 1512(c)(1) refers to “a record,
document, or other object.” There is no allegation that Mr. Watson interfered with
any such item, much less any evidence. Justice Alito then looked at the verbs and
noticed some glaring problems trying to apply those verbs to any tangible object. Id.
at 551 (“How does one make a false entry in a fish?”). Because there was no evidence
interfered with by Mr. Watson (nor will there ever be), the verbs in Section 1512(c)
have no object to reference. Finally, Justice Alito pointed to the title of the statute:
“Destruction, alteration, or falsification of records in Federal investigations and
bankruptcy” and noted “This too points toward filekeeping, not fish.” Id. at 552


                                             4
       Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 5 of 22




      The former Attorney General noted that case law reflects this application of

the residual clause as only applying to “attempts to interfere with, or render false,

evidence that would become available to a proceeding” or “to prevent the flow of

evidence to a proceeding.” Id. at 5 (citing United States v. Volpendesto, 746 F.3d 273

(7th Cir. 2014) (soliciting tips from corrupt cops to evade surveillance); United States

v. Phillips, 583 F.3d 1261 (10th Cir. 2009) (disclosing identity of undercover agent to

subject of grand jury drug investigation)); see also e.g. United States v. Carson, 560

F.3d 566, 584 (6th Cir. 2009) (involving false testimony to a grand jury); United States

v. Jefferson, 751 F.3d 314, 321 (5th Cir. 2014) (involving intentional false statements

to court during a preliminary injunction hearing); United States v. Lucas, 499 F.3d

769, 780–81 (8th Cir. 2007) (involving a defendant having others falsely claim

ownership of a firearm); United States v. Mintmire, 507 F.3d 1273, 1290 (11th Cir.

2007) (involving defendant’s “attempt[s] to orchestrate” grand jury witness’s

testimony by sending notes to an attorney who in turn “coached” the witness); United

States v. Petruk, 781 F.3d 438, 447 (8th Cir. 2015) (involving false statements in a

court proceeding); United States v. Pugh, 945 F.3d 9, 28 (2d Cir. 2019) (involving

destruction of several USB drives and deletion of data); see also United States v.

Burge, 711 F.3d 803, 809 (7th Cir. 2013) (involving providing false answers to

interrogatories in a civil law suit filed by a person seeking damages for mistreatment

while in police custody, explaining that §1512(c)(1) “covers obstructive conduct in the



(emphasis added). As Mr. Watson has already addressed above, the title of Section
1512 clearly supports a finding that it was not intended to apply to all forms of
obstructive conduct.


                                           5
          Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 6 of 22




form of physical destruction of documents and records” whereas § 1512(c)(2) covers

”otherwise” obstructive behavior to include giving false statements in interrogatories

relating to a civil law suit). As the former Attorney General correctly observed, “the

natural and plausible reading of 1512(c)(2)” requires some conduct that impairs the

integrity and availability of some evidence.

        Section 1512(c) was enacted as part of the Sarbanes-Oxley Act of 2002, “[a]n

Act to protect investors by improving the accuracy and reliability of corporate

disclosures made pursuant to securities laws, and for other purposes.” SARBANES-

OXLEY ACT OF 2002, Pub. L. No. 107-204, 116 Stat. 745. Subsection (c) was added in

part to ensure that there would be liability for those who destroyed records before an

“official proceeding” had convened even if they did not foresee one convening (so long

as their intent is to ensure that the records would be unavailable), and even if they

acted alone (rather than caused others to act in ways that obstructed justice), largely

in reaction to Arthur Andersen LLP having evaded criminal liability for destroying

documents in the wake of the Enron scandal under Section 1512(b)(2), because that

section only criminalized actions directed at another person. 6

        The Senate Judiciary Committee report described the Act’s purpose as

“provid[ing] for criminal prosecution and enhanced penalties of persons who defraud

investors in publicly traded securities or alter or destroy evidence in certain Federal

investigations.” S. REP. NO. 107-146, at 2 (2002). The Committee Report noted that


6   See Arthur Andersen LLP v. United States, 544 U.S. 696, 703-07 (2005).




                                           6
       Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 7 of 22




much of Arthur Andersen’s document destruction was “undertaken in anticipation of

a SEC subpoena to Andersen for its auditing and consulting work related to Enron.”

Id. at 4. Congress was adamant that “[w]hen a person destroys evidence with the

intent of obstructing any type of investigation and the matter is within the

jurisdiction of a federal agency, overly technical legal distinctions should neither

hinder nor prevent prosecution and punishment.” Id. at 6-7. Thus, the legislative

history of Section 1512(c)(2) “was expressly designed to ‘clarify and close loopholes in

the existing criminal laws relating to the destruction or fabrication of evidence and

the preservation of financial and audit records.’” Barr Memo at 5-6 (quoting S. REP.

NO. 107-146, at 14-15) (emphasis added).        “In the wake of the Enron scandal,

Congress was faced with a specific loophole: that then-existing criminal statutes

made it illegal to case or induce another person to destroy documents, but it did not

make it illegal to do by oneself. Congress closed that loop by passing subsection (c),

and nothing in the legislative history suggest a broader purpose than that.” Miller

mem. op. at 28 (emphasis added). Likewise, the former Attorney General also

observed that “[r]eading the residual clause as an all-encompassing proscription

cannot be reconciled either with the other subsections of § 1512, or with the other

obstruction provisions in Title 18 that must be read in pari passu with those in §

1512.” Barr Memo at 5.

      If this Court were to interpret Section 1512(c)(2) as the government wants it

to — as a catch-all to include something so unique as protesting the election

certification proceedings — “clause (c)(2) would render all the specific terms in clause




                                           7
        Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 8 of 22




(c)(1) surplusage; moreover, it would swallow up all the specific prohibitions in the

remainder of § 1512 — subsections (a), (b), and (d).” Id. And, as Mr. Barr continued,

“[m]ore than that, it would subsume virtually all other obstruction provisions in Title

18. . . . It is not too much of an exaggeration to say that, if § 1512(c)(2) can be read as

broadly as being proposed, then virtually all Federal obstruction law could be reduced

to this single clause.” Id.; see also Marx v. General Revenue Corp., 568 U.S. 371, 386

(2013) (“[T]he canon against surplusage is strongest when an interpretation would

render superfluous another part of the same statutory scheme.”).

      In order for Count One to sufficiently allege a violation, it must allege that Mr.

Watson took “some action with respect to a document, record, or other object in order

to corruptly obstruct, impede, or influence an official proceeding.” Miller mem. op. at

28. Because no such allegation exists in the Indictment here (nor can there ever be

one), this Court should adopt the reasoning applied by Judge Nichols in Miller and

dismiss Count One of the Indictment alleging a violation of Section1512(c)(2).

     THE CERTIFICATION OF THE ELECTORAL VOTE WAS NOT AN
                    “OFFICIAL PROCEEDING”
I.    Section 1512(c)(2) prohibits obstructing only “official proceedings,”
      which are tribunal-like proceedings relating to the administration of
      justice.
      Congress defined the term “official proceeding” for purposes of Sections 1512

and 1513 in Section 1515(a)(1), as follows:

             (A) a proceeding before a judge or court of the United
             States, a United States magistrate judge, a bankruptcy
             judge, a judge of the United States Tax Court, a special
             trial judge of the Tax Court, a judge of the United States
             Court of Federal Claims, or a Federal grand jury;



                                            8
        Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 9 of 22




              (B) a proceeding before the Congress;
              (C) a proceeding before a Federal Government agency
              which is authorized by law; or
              (D) a proceeding involving the business of insurance whose
              activities affect interstate commerce before any insurance
              regulatory official or agency or any agent or examiner
              appointed by such official or agency to examine the affairs
              of any person engaged in the business of insurance whose
              activities affect interstate commerce[.]


       The plain language of the statute suggests that the term “official proceeding”

refers to tribunal-like proceedings relating to adjudication, deliberation, and the

administration of justice. The electoral count does not include these features. So while

the counting of the electoral vote takes place in Congress, it is not an “official proceeding.”

       A.     The text in and around Sections 1515 and 1512 support this view.

       The “plain meaning of § 1512(c)(2) and § 1515(a)(1)(A) is unambiguous—an

informal, routine agency action like clearance-adjudication does not fall within the

statutory definition of an “official proceeding.” U.S v. Guertin, 1:21-CR-262 (TNM),

2022 WL 203467 (D.D.C. Jan. 24, 2022) at *5. As Judge McFadden found in Guertin,

an “official proceeding” must “resemble a formal tribunal.” Id. at *6. By the rationale

applied by a judge of this Court in Guertin, the electoral count likewise does not

qualify as an “official proceeding.” 7

       In Guertin, the district judge began by noting that “official proceeding” can

have a broad or narrow definition. The court found for good reason that the narrow

definition must be applied. Id. at *5. The court then went on to analyze the text of



7Judge McFadden has denied Motions to Dismiss the Obstruction count in January
6 cases. See e.g. United States v. Hale-Cusanelli, 21CR37 (D.D.C. May 6, 2022).


                                              9
       Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 10 of 22




the 1512(c)(2), observing that “official” appears before “proceeding,” thus “textually

limiting covered proceedings to those bearing indicia of officiality.” Id at *7. Next,

the court found that the definitional provisions in 1515(a)(1) support that reading,

observing that the “word ‘before’ suggests an ‘official proceeding’ would typically

entail convening a formal tribunal or adjudicative body before which parties are

compelled to appear.” Id. (internal citations omitted) (emphasis omitted). After

careful textual analysis, this court held that taken together, Sections 1515(a)(1) and

1512 make clear that a covered “proceeding before a Federal government agency”

must resemble a formal tribunal.” Id.; See also United States v. Ermoian, 752 F.3d

1165, 1172 (9th Cir. 2013) (analyzing the text in and surrounding Sections 1515 and 1512

to determine that the phrase “a proceeding before a Federal Government agency which

is authorized by law” in Section 1515(a)(1)(C) does not include FBI investigations);

United States v. Ramos, 537 F.3d 439, 462–63 (5th Cir. 2008) (stating that “use[ of]

the preposition ‘before’ in connection with the term ‘Federal Government agency’ . . .

implies that an ‘official proceeding’ involves some formal convocation of the agency in

which parties are directed to appear, instead of any informal investigation conducted

by any member of the agency.”). The foregoing analysis demonstrates that Section

1515(a)(1)(B) does not include the counting of electoral votes.

      B.     The electoral count is not an official proceeding because it is a ceremonial
             event.

      Just as the “criminal investigation” in Ermoian and the “routine certification”

in Guertin did not meet the definition of an “official proceeding” under the obstruction

of justice statute with the full context in mind, neither do the election certification



                                          10
       Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 11 of 22




proceedings meet that same definition here. Indeed, when considering Congress’s role

in counting electoral votes pursuant to the 12th Amendment and the Electoral Count

Act of 1887, later codified in 3 U.S.C. § 15, it is clear that the electoral count is a

ceremonial and administrative event, bearing no resemblance to a tribunal. The

Twelfth Amendment and 3 U.S.C. § 15 place responsibility on Congress to count

electoral votes after the states have already heard disputes and certified the vote. See

Bush v. Gore, 531 U.S. 98, 113 (2000) (Rehnquist, C.J., concurring) (the “State’s

selection of electors shall be conclusive, and shall govern in the counting of the

electoral votes.”). The joint session does not have the power under the Constitution

to actually reject the votes of any state. See Vasan Kesavan, Is the Electoral Count

Act Unconstitutional?, 80 N.C. L. REV. 1653, 1709 (2002) [hereinafter Kesavan].

      Even though the election certification proceedings may be “official,” no one is

“before” the Congress in those proceedings; the proceedings entail no formal

investigation or consideration of facts; and there is little to no discretion on the part

of the Joint Session of Congress and its Presiding Officer. No parties are summoned

to attend the proceedings; no witness or evidence is produced, offered or taken; and

nothing is adjudicated by Congress. As such, the certification proceedings are nothing

like tribunal proceedings, and have nothing in common with the “business done in

courts,” or acts “done by the authority or direction of the court, express or implied.”

See Ermoian, 752 F.3d at 1170 (“‘Proceeding’ is a word much used to express the

business done in courts and “is an act done by the authority or direction of the court,




                                           11
       Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 12 of 22




express or implied”) (quoting Black’s Law Dictionary commentary, cited supra).

Instead, the vote count is entirely ministerial and ceremonial.

      The history of “objections” lodged at the Electoral Count further illustrate the

ceremonial nature of the electoral count. The past objections were mostly made in the

1800’s because of the confusion of when new states were admitted to the union and

how that impacted whether their votes should count. Objections were ultimately

rejected because it was determined that the Joint Session did not have the authority

to judge the proceedings already had in the states. See Kesavan, supra at 1678-94. In

1876, the most tumultuous American election thus far, Samuel Tilden and

Rutherford Hayes were separated by one electoral vote and four states sent Congress

multiple electoral returns. Id. Instead of the Joint Session resolving this issue

(because Congress recognized that the Joint Session did not have the authority to do

so), Congress formed a separate commission to sort through the chaos and decide the

issues of fact and law presented. Id. Subsequently, to address issues like this in the

future, Congress enacted the Electoral Count Act of 1887, placing on the states the

responsibility to resolve disputes about electors and their appointments and

certifications. Stephen A. Siegel, The Conscientious Congressman’s Guide to the

Electoral Count Act of 1887, 56 FLA. L. REV. 540, 543 (July 2004).

      In 1969, there was an objection that a vote sent up to Congress from North

Carolina should not be counted because it reflected the “faithless” elector who had

refused to give his vote to Richard Nixon, despite Nixon winning the popular vote in




                                         12
       Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 13 of 22




that state. The objection was rejected, and the vote at issue counted, because of the

strong reminder of representatives such as R. Rarick who said:

      We are not election supervisors nor given the discretion to re-compute
      the vote received from a sovereign state. The Constitution clearly
      proscribes our duty as to ‘count the electoral votes,’ the ministerial
      function of a central collecting agency and a tabulating point.
See Kesavan, supra at 1694, 2022 (emphasis added).

      The Electoral Count is a ceremonial meeting of both houses of Congress. The

Electoral Count is not an “official proceeding” and count One of the Indictment should

be dismissed.

       SECTION 1512(C)(2) IS UNCONSTITUTIONALLY VAGUE BECAUSE
                           “CORRUPTLY” IS VAGUE
      The Court should dismiss the Indictment for a third and related reason, which

is that Section 1512(c)(2), as applied to Congressional proceedings, fails to provide

constitutionally required notice of what the statute prohibits, because the contextual

meaning of “corruptly” is vague. In the alternative, the only construction of

“corruptly” that might enable the statute to pass constitutional muster is acting with

the intent to obtain an unlawful advantage, for oneself or an associate, contrary to

the due administration of justice. But because the Indictment against Mr. Watson

fails to allege anything relating to the administration of justice, the Court should

dismiss in any case.

      Due Process requires a statute to give fair warning of the prohibited conduct.

Bouie v. City of Columbia, 378 U.S. 347, 350-1 (1964). A statute is unconstitutionally

vague under the due process clause if “it fails to give ordinary people fair notice of the

conduct it punishes, or so standardless that it invites arbitrary enforcement.”


                                           13
       Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 14 of 22




Johnson v. United States, 576 U.S. 591, 595–96 (2015); see also Kolender v. Lawson,

461 U.S. 352, 357–58 (1983) (“[A] penal statute must define the criminal offense with

sufficient definiteness that ordinary people can understand what conduct it prohibits,

and do so in a manner that does not invite arbitrary and discriminatory enforcement

by which ‘policemen, prosecutors, and juries ... pursue their personal predilections.’”);

Connally v. General Construction Company, 269 U.S. 385, 391 (1926) (“[A] statute

which either forbids or requires the doing of an act in terms so vague that men of

common intelligence must necessarily guess at its meaning and differ as to its

application, violates the first essential of due process of law.”). The allegations against

Mr. Watson in Count One of the Indictment fail in both ways.

I.     “Corruptly,” as used in Section 1512(c)(2), is unconstitutionally vague.

       In United States v. Poindexter, 951 F.2d 369 (D.C. Cir. 1991) the Court of

Appeals for this Circuit ruled that the word “corruptly” is prone to cause vagueness

in a case concerning Section 1505, which criminalizes


       [w]hoever corruptly, or by threats or force, or by any threatening letter
       or communication influences, obstructs, or impedes or endeavors to
       influence, obstruct, or impede the due and proper administration of the
       law under which any pending proceeding is being had before any
       department or agency of the United States, or the due and proper
       exercise of the power of inquiry under which any inquiry or investigation
       is being had by either House, or any committee of either House or any
       joint committee of the Congress –

18 U.S.C. § 1505.

       Congress later added the definition of “corruptly” now applicable to the statute

via Section 1515(b), but in Poindexter, the court analyzed the text without that

context. The court stated that the word “corruptly” in the text “must have some


                                            14
        Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 15 of 22




meaning, because otherwise the statute would criminalize all attempts to ‘influence’

congressional [proceedings] – an absurd result that Congress could not have intended

in enacting the statute.” Poindexter, 951 F.2d at 377-8 (analyzing application of §

1505 as applied to making false statements to Congress).

        The court also found that dictionary alone did not make clear what that
        meaning is. First, there are several dictionary definitions:“[C]orruptly”
        is the adverbial form of the adjective “corrupt,” which means “depraved,
        evil: perverted into a state of moral weakness or wickedness . . . of
        debased political morality; characterized by bribery, the selling of
        political favors, or other improper political or legal transactions or
        arrangements.” A “corrupt” intent may also be defined as “the intent to
        obtain an improper advantage for [one]self or someone else, inconsistent
        with official duty and the rights of others.”

Id. at 378 (quoting United States v. North, 910 F. 2d 843, 881-82 (D.C. Cir. 1990)).

Poindexter argued that “so defined, ‘corruptly’ is vague as used in section 1505.” Id.

at 378. Mr. Watson argues that, so defined, “corruptly” as used in Section 1512 is as

well.

        The Court of Appeals acknowledged, and this Court must as well, that “on its

face, the word ‘corruptly’ is vague; that is, in the absence of some narrowing gloss,

people must ‘guess at its meaning and differ as to its application.’” Id. at 378. And,

just as the court found that “corruptly influencing” a congressional inquiry “does not

at all clearly encompass lying to Congress, which is, by way of contrast, clearly a

violation of § 1001,” id., this Court must acknowledge that the conduct alleged in the

instant Indictment – which also would clearly violate another statute (40 U.S.C. §

5104) – does not clearly fall within “corruptly . . . otherwise obstructing, influencing,

or impeding” an official proceeding, using the dictionary definitions of “corruptly.”




                                           15
        Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 16 of 22




That is because “[t]he various dictionary definitions of the adjective ‘corrupt’” are

themselves vague. Id. “Words like ‘depraved,’ ‘evil,’ ‘immoral,’ ‘wicked,’ and ‘improper’

are no more specific – indeed they may be less specific – than ‘corrupt.’” Id. at 378-79.

Because of this, the Court of Appeals for this Circuit found the word “corruptly” as

used in Section 1505 “too vague to provide constitutionally adequate notice that it

prohibits lying to the Congress.” Id. at 379.

        Applying the logic of Poindexter, the only way the use of the word in Section

1512 can avoid the same fate is if the text or other context “clearly indicates a more

specific meaning of the term ‘corruptly,’” and Mr. Watson’s “conduct comes within

that meaning.” Id. at 379 (considering whether the use of the word, the legislative

history of 1505, or judicial gloss on the statute provided a clear indication of a more

specific meaning of the word in that statute, and ultimately concluding that it did

not).

        In Poindexter, the court first considered whether the usage of the word

“corruptly” gave it more definition. Id. at 379. The court noted;

        the verb “corrupt” may be used transitively (“A corrupts B,” i.e., “A
        causes B to act corruptly”) or intransitively (“A corrupts,” i.e., “A
        becomes corrupt, depraved, impure, etc.”). So too, the adverbial form
        “corruptly” may have either the transitive or the intransitive sense. See
        3 Oxford English Dictionary 974 (2d ed. 1989) (“corruptly” may mean
        either “by means of corruption or bribery,” i.e., by means of corrupting
        another, or acting oneself “in a corrupt or depraved manner”).

        Id. at 379. But the court found that this analysis did not evade the
        vagueness in the word itself because either a transitive or an
        intransitive interpretation would still be unconstitutionally vague . . . if
        specific content is not given to the word ‘corruptly.’ Reading ‘corruptly’
        to prohibit one from influencing another to act ‘immorally’ or
        ‘improperly’ provides no more guidance than does reading it to prohibit
        one from acting ‘immorally’ or ‘improperly’ oneself.


                                            16
       Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 17 of 22




Id.

The same issue is presented here: No matter how “corruptly” is used in Section

1512(c)(2) – transitively or intransitively – the word lacks definition and remains too

vague to provide constitutionally-required notice.

II.   The emerging definitions of “corruptly” in this District demonstrate
      how vague the term is.

      This Court’s colleagues do not disagree that, in the abstract, “corruptly” is

somewhat vague, and acknowledge that many of words often used to define it are of

little help. See, e.g., Caldwell mem. op. at *9 (noting that Poindexter provided that

“’the word ‘corruptly’ is vague” and that, “in absence of some narrowing gloss, people

must ‘guess at its meaning and differ as to its application’”). Judges in this Circuit

have found that judicial gloss provides further and sufficient narrowing definition to

the word “corruptly.” But they do not agree on what that gloss provides. All appear

to agree that “corruptly” requires proof of intent to obstruct an official proceeding,

and that there must be some nexus, a relationship in time, causation, or logic,

between the defendant’s actions and the official proceeding in question. But they do

not all agree on the rest of the definition of “corruptly,” or arrive at their conclusion

exactly the same way.

      Judge Friedrich appears to conclude that judicial gloss provides notice that

proof that a defendant acted “corruptly” also must include proof that he acted

“wrongfully.” U.S. v. Ronald Sandlin, 21-cr-88-DLF ECF No. 63, at *11-13 (D.D.C.

2021) [hereinafter Sandlin mem. op]. The court finds that “in considering the

meaning of “corruptly” (or wrongfully), courts have drawn a clear distinction between


                                           17
       Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 18 of 22




lawful and unlawful conduct,” drawing “a line that is consistent with the definition

of ‘wrongful’: that is contrary to law, statute, or established rule.” Id. at *12 (internal

citations omitted). This meaning, and judicial opinions, according to this Court,

“identify a core set of conduct against which § 1512(c)(2) may be constitutionally

applied – ‘independently criminal’ conduct . . . that is ‘inherently malign’,” in addition

to being intended to obstruct a proceeding with which it has a nexus. Id. at *13. Thus,

this Court concluded that the statute is not vague as applied against the defendants

accused of illegal conduct intended to obstruct an official proceeding, at least so long

as it is inherently malign. Id.

      In the Nordean case, Judge Kelly appears to follow the logic of Sandlin,

concluding that corruptly means at least “intentionally” and “wrongfully” and that

the defendants in that case are alleged to have so-acted because they allegedly used

“unlawful means.” United States v. Nordean, Criminal Action 21-175 (TJK) at *21

(D.D.C. Dec. 28, 2021) [hereinafter Nordean mem. op.]. However, Judge Kelly seems

to be more open to the notion that unlawful purposes, as opposed to unlawful means

(such as breaking the law) can satisfy the “wrongfulness” prong perceived as a

limitation on the meaning of “corrupt” in section 1512(c)(2). Nordean mem. op. at *25.

      Judge Boasberg also closely follows this Court’s rationale, in Mostofsky.

However, that court interprets Sandlin to stand for the proposition that “corruptly”

requires “that defendants acted ‘unlawfully, and with the intent to obstruct[,]’

impede, or influence an official proceeding.” United States v. Mostofsky, Criminal




                                            18
       Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 19 of 22




Action 21-138 (JEB) at *22 (D.D.C. Dec. 21, 2021) (emphasis added) (alteration in

original).

       Judge Mehta takes yet another view of what the judicial gloss provides. In

Caldwell, Judge Mehta concludes that case law provides notice that “corrupt” action

involves “consciousness of wrongdoing” undertaken with specific intent to obstruct a

congressional proceeding. Caldwell mem. op. at *10-11. But apparently not all

conscious wrongdoing suffices, per this opinion: whereas preplanning to obstruct,

wearing paramilitary gear, forcible trespass and assault, and coordinated movement

through the Capitol would apparently qualify, “mere . . . trespass” apparently would

not. Id. at *13. Thus, Judge Mehta perceives an extra limitation on what it means to

act corruptly (i.e., it includes consciously violating crimes at least more serious than

trespass).

       In Montgomery, Judge Moss appears to track Judge Mehta’s reasoning,

finding that case law preceding and following Poindexter provides notice that, to

prove a defendant acted corruptly, the government must establish intent to obstruct

an official proceeding, and “consciousness of wrongdoing.” United States v.

Montgomery, Criminal Action 21-46 (RDM) at *44-45 (D.D.C. Dec. 28, 2021).

However, Judge Moss allows that there could be further requirements, including

proof that the defendant used “some unlawful method” and acted “with the hope or

expectation of a benefit to oneself or a benefit to another person.” Id. at *47 n.5

(internal citations omitted)).




                                          19
       Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 20 of 22




      These various spins on just what it means to act “corruptly” under Section

1512(c)(2) demonstrate that the defendants in all of these cases are right that the law

was not so clear about what “corruptly” means, and that neither the text nor the

judicial gloss on it provided them with sufficient notice that it could be applied against

their conduct.

 THE RULE OF LENITY PROVIDES CONFIRMATION THAT THE COURT
                 SHOULD DISMISS COUNT ONE

      Finally, if recourse to any of the “traditional tools of statutory construction

leaves any doubt” about the meaning of “corruptly obstructing, influencing, or

impeding a proceeding before Congress,” as those terms are used in Section

1512(c)(2), this Court could also invoke the rule that “ambiguity concerning the ambit

of criminal statutes should be resolved in favor of lenity.” Yates, 574 U.S. at 547-48

(quoting Cleveland v. United States, 531 U.S. 12, 25 (2000), in turn quoting Rewis v.

United States, 401 U.S. 808, 812 (1971)). As it was in Yates, “[t]hat interpretative

principle is relevant here, where the Government urges a reading of [Section

1512(c)(2)] that exposes individuals to 20-year prison sentences” for obstructing any

proceeding before Congress in any manner that it deems “corrupt.” Id. (citing

Liparota v. United States, 471 U.S. 419, 427 (1985)) (“Application of the rule of lenity

ensures that criminal statutes will provide fair warning concerning conduct rendered

illegal and strikes the appropriate balance between the legislature, the prosecutor,

and the court in defining criminal liability.”).

      “In determining the meaning of “corruptly obstructing, influencing, or

impeding a proceeding before Congress,” as those terms are used in Section 1512, as



                                           20
       Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 21 of 22




it was for the Court in interpreting Section 1519 in Yates, it would also be

“appropriate, before [choosing] the harsher alternative, to require that Congress

should have spoken in language that is clear and definite.” Id. (quoting Cleveland,

531 U.S. at 25, in turn quoting United States v. Universal C.I.T. Credit Corp., 344

U.S. 218, 222 (1952)). Because Congress failed to do so, and the government has

accused Mr. Watson such that it is not “clear and definite” that his conduct violates

Section 1512(c)(2), this Court should dismiss Count One of the Indictment against

him.

                                 CONCLUSION
       For all of these reasons, and such others as may be advanced in further briefing

on this motion, and a hearing on this matter, Mr. Watson respectfully requests that

the Court dismiss Count One of the Superseding Indictment.

             Respectfully submitted,

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                                          21
       Case 1:21-cr-00513-RBW Document 38 Filed 09/20/22 Page 22 of 22




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA

 v.                                          CR. No. 1:21-cr-513-RBW

 WILLIAM WRIGHT WATSON,

                      Defendant.




                               CERTIFICATE OF SERVICE

       I hereby certify that on September 20, 2022, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will send notification of

such filing to all counsel of record.

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                                          22
